      Case 1:23-cv-06188-ER Document 199 Filed 11/09/23 Page 1 of 12




                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK



FEDERAL TRADE COMMISSION,

                       Plaintiff,
                                               Case No. 1:23-cv-06188-ER
                v.
                                               DECLARATION OF
IQVIA HOLDINGS INC.,
                                               CHANTALE FIEBIG
and

PROPEL MEDIA, INC.

                       Defendants.
         Case 1:23-cv-06188-ER Document 199 Filed 11/09/23 Page 2 of 12




              CHANTALE FIEBIG, an attorney duly admitted to practice in the Southern

District of New York, declares the following under penalty of perjury:

       1.     I am a partner at the law firm of Weil, Gotshal & Manges LLP, counsel for

Defendant IQVIA Holdings Inc. I respectfully submit this Declaration in Opposition to the

FTC’s Motion for a Preliminary Injunction.

       2.     Attached hereto as Exhibit 1 is a true and correct copy of DX0118, the

VideoWeek article by Tim Cross, Magnite Circumvents DSPs with Launch of ClearLine.

       3.     Attached hereto as Exhibit 2 is a true and correct copy of DX0111, the eMarketer

report, US Healthcare and Pharma Digital Ad Spending: Adjusting to the New Normal in Digital

Engagement.

       4.     Attached hereto as Exhibit 3 is a true and correct copy of DX0119, the Yahoo!

Finance article from Optimize RX Corp., Optimize Rx Announces Agreement to Acquire Medicx

Health for $95 Million to Expand its Omnichannel Reach to Consumers.

       5.     Attached hereto as Exhibit 4 is a true and correct copy of DX0114, the Digiday

article by Seb Joseph, “Capture what may go to outside tech providers”: WPP’s Mark Read

Says It Will Rival Ad Tech Buyers.

       6.     Attached hereto as Exhibit 5 is a true and correct copy of DX0081,



       7.     Attached hereto as Exhibit 6 is a true and correct copy of DX0082,



       8.     Attached hereto as Exhibit 7 is a true and correct copy of DX0083,




                                               2
        Case 1:23-cv-06188-ER Document 199 Filed 11/09/23 Page 3 of 12




       9.        Attached hereto as Exhibit 8 is a true and correct copy of DX0021, the Deposition

Transcript of Kathleen Aalderink.

       10.       Attached hereto as Exhibit 9 is a true and correct copy of DX0010, the

Declaration of

       11.       Attached hereto as Exhibit 10 is a true and correct copy of DX0068, the

Deposition Transcript of

       12.       Attached hereto as Exhibit 11 is a true and correct copy of DX0012, the



       13.       Attached hereto as Exhibit 12 is a true and correct copy of DX0071, the



       14.       Attached hereto as Exhibit 13 is a true and correct copy of DX0058, the



       15.       Attached hereto as Exhibit 14 is a true and correct copy of DX0042, the

Deposition Transcript of Michael Colarossi.

       16.       Attached hereto as Exhibit 15 is a true and correct copy of DX0085, a document

produced by DeepIntent bearing the Bates number range DI-2R-0000972398–DI-2R-

0000972399.

       17.       Attached hereto as Exhibit 16 is a true and correct copy of DX0086, a document

produced by DeepIntent bearing the Bates number range DI-2R-0000998370–DI-2R-

0000998372.

       18.       Attached hereto as Exhibit 17 is a true and correct copy of DX0087, a document

produced by DeepIntent bearing the Bates number range DI-2R-0001289952–DI-2R-

0001289954.




                                                 3
        Case 1:23-cv-06188-ER Document 199 Filed 11/09/23 Page 4 of 12




      19.     Attached hereto as Exhibit 18 is a true and correct copy of DX0088, a document

produced by DeepIntent bearing the Bates number range DI-2R-0001343355–DI-2R-

0001343358.

      20.     Attached hereto as Exhibit 19 is a true and correct copy of DX0089, a document

produced by DeepIntent bearing the Bates number range DI-2R-0001822074–DI-2R-

0001822076.

      21.     Attached hereto as Exhibit 20 is a true and correct copy of DX0090, a document

produced by DeepIntent bearing the Bates number DI-2R-0001947265.

      22.     Attached hereto as Exhibit 21 is a true and correct copy of DX0091, a document

produced by DeepIntent bearing the Bates number range DI-2R-0002225637–DI-2R-

0002225665.

      23.     Attached hereto as Exhibit 22 is a true and correct copy of DX0092, a document

produced by DeepIntent bearing the Bates number range DI-2R-0002680359– DI-2R-

0002680360.

      24.     Attached hereto as Exhibit 23 is a true and correct copy of DX0093, a document

produced by DeepIntent bearing the Bates number DI-2R-0002753533.

      25.     Attached hereto as Exhibit 24 is a true and correct copy of DX0094, a document

produced by DeepIntent bearing the Bates number DI-2R-0002940292.

      26.     Attached hereto as Exhibit 25 is a true and correct copy of DX0095, a document

produced by DeepIntent bearing the Bates number DI-2R-0002945488.

      27.     Attached hereto as Exhibit 26 is a true and correct copy of DX0096, a document

produced by DeepIntent bearing the Bates number DI-2R-0003749889.




                                              4
         Case 1:23-cv-06188-ER Document 199 Filed 11/09/23 Page 5 of 12




       28.    Attached hereto as Exhibit 27 is a true and correct copy of DX0097, a document

produced by DeepIntent bearing the Bates number range DI-LIT-0000128297–DI-LIT-

0000128314.

       29.    Attached hereto as Exhibit 28 is a true and correct copy of DX0098, a document

produced by DeepIntent bearing the Bates number range DI-LIT-0000381875–DI-LIT-

0000381880.

       30.    Attached hereto as Exhibit 29 is a true and correct copy of DX0039, the

Deposition Transcript of Michael DiNorscio.

       31.    Attached hereto as Exhibit 30 is a true and correct copy of DX0008, the



       32.    Attached hereto as Exhibit 31 is a true and correct copy of DX0035, the



       33.    Attached hereto as Exhibit 32 is a true and correct copy of DX0032, the

Deposition Transcript of Dave Escalante.

       34.    Attached hereto as Exhibit 33 is a true and correct copy of DX0070, the

Deposition Transcript of

       35.    Attached hereto as Exhibit 34 is a true and correct copy of DX0030, the

Deposition Transcript of Greg Field.

       36.    Attached hereto as Exhibit 35 is a true and correct copy of DX0025, the

Deposition Transcript of Jody Fisher.

       37.    Attached hereto as Exhibit 36 is a true and correct copy of DX0007, the




                                              5
         Case 1:23-cv-06188-ER Document 199 Filed 11/09/23 Page 6 of 12




       38.     Attached hereto as Exhibit 37 is a true and correct copy of DX0049, the



       39.     Attached hereto as Exhibit 38 is a true and correct copy of DX0099, a document

produced by the FTC bearing the Bates number FTC_IQVIA_00000600.

       40.     Attached hereto as Exhibit 39 is a true and correct copy of DX0066, the



       41.     Attached hereto as Exhibit 40 is a true and correct copy of DX0064, the



       42.     Attached hereto as Exhibit 41 is a true and correct copy of DX0100, a document

produced by          bearing the Bates number GOOG-IQVIA-00000784.

       43.     Attached hereto as Exhibit 42 is a true and correct copy of DX0101, a document

produced by          bearing the Bates number GOOG-IQVIA-00001695

       44.     Attached hereto as Exhibit 43 is a true and correct copy of DX0060, the



       45.     Attached hereto as Exhibit 44 is a true and correct copy of the Rough Deposition

Transcript of Dr. Kostis Hatzitaskos.

       46.     Attached hereto as Exhibit 45 is a true and correct copy of DX0074, the Expert

Report of Dr. Kostis Hatzitaskos.

       47.     Attached hereto as Exhibit 46 is a true and correct copy of DX0122, Exhibit 1 to

the Expert Report of Dr. Kostis Hatzitaskos.

       48.     Attached hereto as Exhibit 47 is a true and correct copy of DX0036, the




                                               6
        Case 1:23-cv-06188-ER Document 199 Filed 11/09/23 Page 7 of 12




       49.    Attached hereto as Exhibit 48 is a true and correct copy of DX0077, the Expert

Report of Dr. Yael Hochberg.

       50.    Attached hereto as Exhibit 49 is a true and correct copy of DX0013, the



       51.    Attached hereto as Exhibit 50 is a true and correct copy of DX0014, the



       52.    Attached hereto as Exhibit 51 is a true and correct copy of DX0051, the



       53.    Attached hereto as Exhibit 52 is a true and correct copy of DX0117, IQVIA’s

Amended Responses and Objections to the FTC's Second Set of Interrogatories.

       54.    Attached hereto as Exhibit 53 is a true and correct copy of DX0112, IQVIA’s

FY2022 Form 10-K.

       55.    Attached hereto as Exhibit 54 is a true and correct copy of DX0102, a document

produced by IQVIA bearing the Bates number range IQVIA-FTC-000118824- IQVIA-FTC-

000118826.

       56.    Attached hereto as Exhibit 55 is a true and correct copy of DX0103, a document

produced by IQVIA bearing the Bates number IQVIA-FTC-001321061.

       57.    Attached hereto as Exhibit 56 is a true and correct copy of DX0104, a document

produced by IQVIA bearing the Bates number IQVIA-FTC-001881702.

       58.    Attached hereto as Exhibit 57 is a true and correct copy of DX0105, a document

produced by IQVIA bearing the Bates number range IQVIA-FTC-002573835–IQVIA-FTC-

002573837.




                                              7
         Case 1:23-cv-06188-ER Document 199 Filed 11/09/23 Page 8 of 12




       59.    Attached hereto as Exhibit 58 is a true and correct copy of DX0106, a document

produced by IQVIA bearing the Bates number range IQVIA-FTC-003244637–IQVIA-FTC-

003244648.

       60.    Attached hereto as Exhibit 59 is a true and correct copy of DX0107, a document

produced by IQVIA bearing the Bates number IQVIA-FTC-100608812.

       61.    Attached hereto as Exhibit 60 is a true and correct copy of DX0108, a document

produced by IQVIA bearing the Bates number range IQVLIT-000125792–IQVLIT-000125807.

       62.    Attached hereto as Exhibit 61 is a true and correct copy of DX0109, a document

produced by IQVIA bearing the Bates number range IQVLIT-000792111–IQVLIT-000792114.

       63.    Attached hereto as Exhibit 62 is a true and correct copy of DX0110, a document

produced by IQVIA bearing the Bates number range IQVLIT-000792115–IQVLIT-000792117.

       64.    Attached hereto as Exhibit 63 is a true and correct copy of DX0113, a document

produced by IQVIA bearing the Bates number range IQVLIT-000798670–IQVLIT-000798712.

       65.    Attached hereto as Exhibit 64 is a true and correct copy of DX0115, a document

produced by IQVIA bearing the Bates number range IQVLIT-000798713–IQVLIT-000798848.

       66.    Attached hereto as Exhibit 65 is a true and correct copy of DX0076, the Expert

Report of Dr. Mark A. Israel.

       67.    Attached hereto as Exhibit 66 is a true and correct copy of DX0011, the



       68.    Attached hereto as Exhibit 67 is a true and correct copy of DX0075, the Expert

Report of Dr. Anupam B. Jena.

       69.    Attached hereto as Exhibit 68 is a true and correct copy of DX0001, the




                                              8
         Case 1:23-cv-06188-ER Document 199 Filed 11/09/23 Page 9 of 12




       70.    Attached hereto as Exhibit 69 is a true and correct copy of DX0033, the



       71.    Attached hereto as Exhibit 70 is a true and correct copy of DX0057, the



       72.    Attached hereto as Exhibit 71 is a true and correct copy of DX0023, the

Deposition Transcript of Frank Lin.

       73.    Attached hereto as Exhibit 72 is a true and correct copy of DX0029, the

Deposition Transcript of John Mangano.

       74.    Attached hereto as Exhibit 73 is a true and correct copy of DX0044, the

Deposition Transcript of Jay Margolis.

       75.    Attached hereto as Exhibit 74 is a true and correct copy of DX0020, the

Deposition Transcript of Barry Miller.

       76.    Attached hereto as Exhibit 75 is a true and correct copy of DX0031, the

Deposition Transcript of Jane O’Brien.

       77.    Attached hereto as Exhibit 76 is a true and correct copy of DX0002, the



       78.    Attached hereto as Exhibit 77 is a true and correct copy of DX0009, the



       79.    Attached hereto as Exhibit 78 is a true and correct copy of DX0055, the



       80.    Attached hereto as Exhibit 79 is a true and correct copy of DX0026, the

Deposition Transcript of Christopher Paquette.




                                                 9
        Case 1:23-cv-06188-ER Document 199 Filed 11/09/23 Page 10 of 12




       81.    Attached hereto as Exhibit 80 is a true and correct copy of the PX6007,



       82.    Attached hereto as Exhibit 81 is a true and correct copy of DX0040, the

Deposition Transcript of Jared Pobre.

       83.    Attached hereto as Exhibit 82 is a true and correct copy of DX0121, a document

produced by PulsePoint bearing the Bates number range PP00054–PP00061.

       84.    Attached hereto as Exhibit 83 is a true and correct copy of PX0009.

       85.    Attached hereto as Exhibit 84 is a true and correct copy of PX2511.

       86.    Attached hereto as Exhibit 85 is a true and correct copy of PX2812.

       87.    Attached hereto as Exhibit 86 is a true and correct copy of PX2816.

       88.    Attached hereto as Exhibit 87 is a true and correct copy of PX2818.

       89.    Attached hereto as Exhibit 88 is a true and correct copy of PX4167.

       90.    Attached hereto as Exhibit 89 is a true and correct copy of DX0037, the

Deposition Transcript of Jon Resnick.

       91.    Attached hereto as Exhibit 90 is a true and correct copy of DX0018, the

Deposition Transcript of Ross Sandler.

       92.    Attached hereto as Exhibit 91 is a true and correct copy of DX0022, the

Deposition Transcript of Stephan Serfontein.

       93.    Attached hereto as Exhibit 92 is a true and correct copy of DX0019, the

Deposition Transcript of Anthony Sherry.

       94.    Attached hereto as Exhibit 93 is a true and correct copy of DX0073, the




                                               10
        Case 1:23-cv-06188-ER Document 199 Filed 11/09/23 Page 11 of 12




       95.    Attached hereto as Exhibit 94 is a true and correct copy of DX0120, a document

produced by Throtle bearing the Bates number Throtle-0004376.

       96.    Attached hereto as Exhibit 95 is a true and correct copy of DX0003, the



       97.    Attached hereto as Exhibit 96 is a true and correct copy of DX0027, the

Deposition Transcript of Robert Whiting.

       98.    Attached hereto as Exhibit 97 is a true and correct copy of DX0047, the



       99.    Attached hereto as Exhibit 98 is a true and correct copy of DX0015, the



       100.   Attached hereto as Exhibit 99 is a true and correct copy of DX0116, a document

produced by IQVIA bearing the Bates number IQVLIT-000799503.



Dated: November 9, 2023

                                           Respectfully submitted,

                                           /s/ Chantale Fiebig__________________

                                           WEIL, GOTSHAL & MANGES LLP
                                           Chantale Fiebig
                                           Mark Perry (pro hac vice)
                                           Andrew Tulumello (pro hac vice)
                                           Mike Moiseyev (pro hac vice)
                                           Joshua M. Wesneski
                                           2001 M Street NW, Suite 600
                                           Washington, DC 20036
                                           Tel: (202) 682-7000
                                           chantale.fiebig@weil.com
                                           mark.perry@weil.com
                                           drew.tulumello@weil.com
                                           michael.moiseyev@weil.com
                                           joshua.wesneski@weil.com




                                              11
Case 1:23-cv-06188-ER Document 199 Filed 11/09/23 Page 12 of 12




                            Robert Taylor
                            Lisa Pieters
                            767 Fifth Avenue
                            New York, NY 10153
                            robert.taylor@weil.com
                            lisa.pieters@weil.com

                            Sarah M. Sternlieb
                            700 Louisiana Street, Suite 1700
                            Houston, TX 77002
                            sarah.sternlieb@weil.com

                            Elizabeth Y. Ryan (pro hac vice)
                            200 Crescent Court, Suite 300
                            Dallas, TX 75201
                            liz.ryan@weil.com

                            CLEARY GOTTLIEB STEEN &
                            HAMILTON LLP
                            Kenneth Reinker
                            Leah Brannon
                            Bruce Hoffman
                            Clotilde Le Roy
                            2112 Pennsylvania Avenue, NW
                            Washington, DC 20037
                            Tel: (202) 974-1500
                            kreinker@cgsh.com
                            lbrannon@cgsh.com
                            bhoffman@cgsh.com
                            cleroy@cgsh.com

                            Rahul Mukhi
                            One Liberty Plaza
                            New York, NY 10006
                            Tel: (212) 225-2000
                            rmukhi@cgsh.com

                            Attorneys for Defendant IQVIA Holdings Inc.




                              12
